Case 1:93-cr-00016-PLM              ECF No. 610, PageID.361      Filed 12/30/14     Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                                    Case No. 1:93-cr-16-06
v.
                                                    HONORABLE PAUL L. MALONEY
BOBBY HOMRICH

                  Defendant.
_________________________________/


                            MEMORANDUM OPINION AND ORDER

       Defendant Bobby Homrich has filed a motion for modification or reduction of sentence

pursuant to 18 U.S.C. §3582(c)(2) based on the modification of the Drug Quantity Table with

respect to drug quantity.

       Section 3582(c)(2) permits a court to reduce the term of imprisonment of a defendant

who has been sentenced based on a sentencing range that has subsequently been lowered by the

Sentencing Commission. 18 U.S.C. § 3582(c)(2). Amendment 782 of the United States

Sentencing Guidelines modified U.S.S.G. § 2D1.1, the Drug Quantity Table with regard to drug

quantity, and U.S.S.G. § 2D2.1(b). These modifications were made retroactive effective

November 1, 2014. U.S.S.G. § 1B1.10(c).

       However, the defendant is not eligible for a sentence modification because he was

sentenced as a career offender. As a career offender, the defendant's sentencing guideline range

was calculated under U.S.S.G. § 4B1.1, not under U.S.S.G. § 2D1.1 or 2D2.1. Therefore,

Amendment 782 does not retroactively lower the defendant's sentencing guideline range.
Case 1:93-cr-00016-PLM         ECF No. 610, PageID.362         Filed 12/30/14     Page 2 of 2




Accordingly,

       IT IS HEREBY ORDERED that Defendant Bobby Homrich's motion for appointment

of counsel and for modification of sentence pursuant to 18 U.S.C. § 3582(c)(2) (ECF No. 603) is

DENIED.




Date: December 30, 2014                      /s/ Paul L. Maloney
                                            Paul L. Maloney
                                            Chief United States District Judge
